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     Attorneys for Plaintiff
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 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                             Case No. 2:15-CV-08595-AB-GJSx
      BOGDAN SZUMILAS on Behalf of
12    Himself and all Others Similarly
                                               Honorable Andre Birotte Jr.
      Situated,
13
                                               STIPULATION OF DISMISSAL
14                             Plaintiffs,     WITH PREJUDICE PURSUANT
            v.                                 TO FEDERAL RULE OF CIVIL
15                                             PROCEDURE 41(a)(1)(A)(ii)
16    THE CBE GROUP INCORPORATED,

17                             Defendant.
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     STIPULATION OF DISMISSAL WITH PREJUDICE
     CASE NO. 2:15-CV-08595-AB-GJSX
Case 2:15-cv-08595-AB-GJS Document 65 Filed 07/12/17 Page 2 of 2 Page ID #:514




 1         IT IS HEREBY STIPULATED among Plaintiff Bogdan Szumilas and
 2   Defendant The CBE Group Incorporated that, pursuant to FRCP 41(a)(1)(A)(ii),
 3   Plaintiff’s claims are hereby dismissed with prejudice. All class claims in the
 4   lawsuit are dismissed without prejudice. As Plaintiff has not moved for class
 5   certification and no class has been certified, court approval is not required as to
 6   dismissal of any claims asserted on behalf of putative class members. Each party
 7   shall bear his/its own costs, expenses, and attorney’s fees related to this action.
 8

 9   Dated: July 12, 2017                    BURSOR & FISHER, P.A.
10                                           By:    /s/Yeremey Krivoshey
                                                      Yeremey Krivoshey
11

12
                                             Attorneys for Plaintiff

13
     Dated: July 12, 2017                    HINSHAW & CULBERTSON LLP
14
                                             By:      /s/ Todd P. Stelter
15
                                                      Todd P. Stelter
16
                                             Attorneys for Defendant
17                                           The CBE Group, Inc.
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     STIPULATION OF DISMISSAL WITH PREJUDICE                                               1
     CASE NO. 2:15-CV-08595-AB-GJSX
